                               Case 01-01139-AMC      Doc 14057-9             Filed 12/18/06   Page 1 of 7
                                               Hand Delivery
                                                                                               William H. Sudell, Jr., Esquire
                                               Laura Davis Jones, Esquire
                                                                                               Eric D. Schwartz, Esquire
 Grace 2002 Service List                       James O’Neill, Esquire.
                                                                                               Morris, Nichols Arsht & Tunnell
                                               Pachulski, Stang, Ziehl, Young, Jones &
                                                                                               1201 N. Market Street
                                               Weintraub, LLP
                                                                                               P.O. Box 1347
                                               919 North Market Street, 17th Floor
                                                                                               Wilmington, DE 19899
                                               Wilmington, DE 19899-8705

    Mark D. Collins, Esquire
                                               Jeffrey C. Wisler, Esquire                      Carmella Keener, Esquire
    Deborah E. Spivak, Esquire
                                               Michelle McMahon, Esquire                       Rosenthal, Monhait, Gross & Goddess, P.A.
    Richards, Layton & Finger, P.A.
                                               Connolly Bove Lodge & Hutz LLP                  919 Market Street, Suite 1401
    One Rodney Square
                                               1220 Market Street, 10th Floor                  Wilmington, DE 19899
    Wilmington, DE 19899
                                               Wilmington, DE 19899

    Hand Delivery
                                                                                               Francis A. Monaco, Jr., Esq.
    Steven M. Yoder, Esquire                   Joseph Grey, Esq.
                                                                                               Frederick B. Rosner, Esq.
    The Bayard Firm                            Stevens & Lee
                                                                                                Monzack and Monaco, P.A.
    222 Delaware Avenue, Suite 900             1105 N. Market St. – Ste 700
                                                                                               1201 North Orange Street, Suite 400
    Wilmington, DE 19899                       Wilmington, DE 19801-1270
                                                                                               Wilmington, DE 19801

                                                                                               Kathleen M. Miller, Esquire
    Mark S. Chehi, Esq.
                                               Robert Jacobs, Esq.                             Smith, Katzenstein & Furlow LLP
    Kevin Brady, Esq.
                                               Jacobs & Crumplar, PA                           The Corporate Plaza
    Skadden, Arps, Slate, Meagher & Flom LLP
                                               Two East 7th Street                             800 Delaware Ave., 7th Floor
    One Rodney Square
                                               Wilmington, DE 19801                            PO Box 410
    Wilmington, DE 19801
                                                                                               Wilmington, DE 19899

    Hand Delivery
                                               Hand Delivery                                   Hand Delivery
    Theresa K.D. Currier, Esq.
                                               David Klauder, Esq.                             Bill Sullivan
    Buchanan Ingersoll & Rooney, P.C.
                                               Office of the United States Trustee             William D. Sullivan, LLC
    The Brandywine Building
                                               844 King St., 2nd Floor                         4 East 8th Street, Suite 400
    1000 West Street, Suite 1410
                                               Wilmington, DE 19801                            Wilmington, DE 19801
    Wilmington, DE 19801

    Hand Delivery                              Hand Delivery                                   J. Douglas Bacon, Esquire
    Michael R. Lastowski, Esquire              Michael B. Joseph, Esq.                         David S. Heller, Esquire
    Duane Morris & Heckscher LLP               Ferry & Joseph, P.A.                            Latham & Watkins
    1100 N. Market Street, Suite 1200          824 N. Market Street, Suite 904                 Sears Tower, Suite 5800
    Wilmington, DE 19801                       Wilmington, DE 19801                            Chicago, IL 60606


    D. J. Baker, Esquire                       Nancy Worth Davis, Esquire
    Sheila Birnbaum, Esq.                      Ness, Motley, Loadhold, Richardson & Poole      Securities & Exchange Commission
    Skadden, Arps, Slate, Meagher & Flom LLP   28 Bridgeside Boulevard                         15th & Pennsylvania Ave. N.W.
    Four Times Square                          P.O. Box 1792                                   Washington, DC 20020
    New York, NY 10036                         Mount Pleasant, SC 29465


    District Director                          Securities & Exchange Commission
    IRS                                        Atlanta Regional Office                         Secretary of Treasurer
    409 Silverside Road                        Branch/Reorganization                           P.O. Box 7040
    Wilmington, DE 19809                       3475 Lenox Road, NE, Suite 100                  Dover, DE 19903
                                               Atlanta, GA 30326-1232

                                               James D. Freeman, Esquire                       Martin J. Bienenstock, Esquire
    Secretary of State
                                               Jerel L. Ellington, Esquire                     Judy G.Z. Liu, Esquire
    Division of Corporations
                                               U.S. Department of Justice                      Weil, Gotshal & Manges LLP
    Franchise Tax
                                               Environmental Enforcement Section               767 Fifth Avenue
    P.O. Box 7040
                                               1961 Stout Street – 8th Floor                   New York, NY 10153
    Dover, DE 19903
                                               Denver, CO 80294




{D0000014:1 }
                                Case 01-01139-AMC    Doc 14057-9              Filed 12/18/06   Page 2 of 7
                                                                                               Pamela Zilly
    David S. Rosenbloom, Esquire
                                              Brad Rogers, Esquire                             Richard Shinder
    Jeffrey E. Stone, Esquire
                                              Office of the General Counsel                    David Blechman
    Lewis S. Rosenbloom, Esquire
                                              Pension Benefit Guaranty Corp                    Michael Alexander
    McDermott, Will & Emery
                                              1200 K. Street, N. W.                            The Blackstone Group
    227 West Monroe Street
                                              Washington, D.C. 20005-4026                      345 Park Avenue
    Chicago, IL 60606-5096
                                                                                               New York, NY 10154

    Patrick L. Hughes, Esquire
                                              Elio Battista, Jr., Esq.                         David S. Heller, Esquire
    Haynes & Boone LLP
                                              Blank Rome LLP                                   Latham & Watkins
    1000 Louisiana Street, Suite 4300
                                              1201 Market Street, Suite 800                    Sears Tower, Suite 5800
    Houston, TX 77002-5012
                                              Wilmington, DE 19801-4226                        Chicago, IL 60606



    Stephen H. Case, Esquire                  Jan M. Hayden                                    Joseph F. Rice
    Nancy L. Lazar, Esquire                   William H. Patrick                               Ness, Motley, Loadholt, Richardson & Poole
    David D. Tawil, Esquire                   Heller, Draper, Hayden, Patrick & Horn, L.L.C.   28 Bridgeside Blvd.
    Davis Polk & Wardwell                     650 Poydras Street, Suite 2500                   P.O. Box 1792
    450 Lexington Avenue                      New Orleans, LA 70130-6103                       Mt. Pleasant, SC 29465
    New York, NY 10017

    Attn.: Meridee Moore & Kirsten Lynch
                                              John M. Klamann                                  Hamid R. Rafatjoo, Esquire
    Farallon Capital Management LLC
                                              Klamann & Hubbard                                Pachulski, Stang, Ziehl, Young & Jones
    One Maritime Plaza
                                              7101 College Blvd., Suite 120                    10100 Santa Monica Boulevard
    Suite 1325
                                              Overland Park, KS 66210                          Los Angeles, CA 90067-4100
    San Francisco, CA 94111

                                                                                               Steven T. Baron, Esquire
                                              T. Kellan Grant                                  Member
    Charles E. Boulbol, Esquire
                                              Wildman, Harrold, Allen & Dixon                  Silber Pearlman, LLP
    26 Broadway, 17th Floor
                                              225 West Wacker Drive, Suite 3000                2711 North Haskell Avenue, 5th Floor, LLP
    New York, NY 10004
                                              Chicago, IL 60606-1229                           Dallas, TX 75204


    Bankruptcy Administration                 W.J. Winterstein, Jr., Esquire
                                                                                               Richard S. Cobb, Esquire
    IOS Capital, Inc.                         John J. Winter, Esquire
                                                                                               Megan N. Harper, Esquire
    1738 Bass Road                            William M. Aukamp, Esquire
                                                                                               Landis Rath & Cobb LLP
    P.O. Box 13708                            Eleven Penn Center, 29th Floor
                                                                                               919 Market Street, Suite 600
    Macon, GA 31208-3708                      1835 Market Street
                                                                                               Wilmington, DE 19801
                                              Philadelphia, PA 19103

                                              Elizabeth S. Kardos, Esq.
    Margery N. Reed, Esq.                                                                      Thomas J. Noonan, Jr.
                                              Gibbons, Del Deo, Dolan, Griffinger
    Duane, Morris & Heckscher LLP                                                              c/o R & S Liquidation Company
                                                & Vecchione, PC
    4200 One Liberty Place                                                                     Five Lyons Mall PMB #530
                                              One Riverfront Plaza
    Philadelphia, PA 19103-7396                                                                Basking Ridge, NJ 07920-1928
                                              Newark, NJ 07102-5497

                                                                                               Jonathan W. Young
    James A. Sylvester, Esquire               Alan R. Brayton, Esquire
                                                                                               T.Kellan Grant
    Intercat, Inc.                            Brayton & Purcell
                                                                                               Wildman, Harrold, Allen & Dixon
    104 Union Avenue                          222 Rush Landing Road
                                                                                               225 West Wacker Drive, Suite 3000
    Manasquan, NJ 08736                       Novato, CA 94945
                                                                                               Chicago, IL 60606-1229


                                              Russell W. Budd                                  Shelby A. Jordan, Esquire
    Steven J. Johnson, Esquire                Alan B. Rich                                     Nathaniel Peter Holzer. Esquire
    Gibson, Dunn & Crutcher LLP               Baron & Budd, P.C.                               Jordan, Hyden, Womble & Culbreth, P.C.
    1530 Page Mill Road                       3102 Oak Lawn Avenue, Suite 1100                 500 N. Shoreline Blvd., Suite 900
    Palo Alto, CA 94304-1125                  Dallas, TX 75219                                 Corpus Christi, TX 78471




{D0000014:1 }
                                Case 01-01139-AMC        Doc 14057-9              Filed 12/18/06   Page 3 of 7

    Charlotte Klenke, Esquire                     Courtney M. Labson, Esquire
                                                                                                   Ira S. Greene, Esquire
    Schneider National, Inc.                      The Mills Corporation
                                                                                                   Squadron, Ellenoff, Plesent & Sheinfeld, LLP
    P.O. Box 2545                                 Legal Department
                                                                                                   875 3rd Avenue
    3101 S. Packerland                            1300 Wilson Boulevard, Suite 400
                                                                                                   New York, NY 10022-6225
    Green Bay, WI 54306                           Arlington, VA 22209


    Joseph T. Kremer, Esq.
                                                  Paul M. Matheny                                  Paul D. Henderson, Esq.
    Lipsiptz, Green, Fahringer, Roll, Salisbury
                                                  The Law Offices of Peter G. Angelos, P.C.        Paul D. Henderson, P.C.
      & Cambria, LLP
                                                  5905 Harford Road                                712 Division Avenue
    42 Delaware Avenue, Suite 300
                                                  Baltimore, MD 21214                              Orange, TX 77630
    Buffalo, NY 14202


    Michael J. Urbis                              David B. Siegel                                  Mary A. Coventry
    Jordan, Hyden, Womble & Culbreth, P.C.        W.R. Grace and Co.                               Sealed Air Corporation
    2390 Central Blvd., Suite G                   7500 Grace Drive                                 Park 80 East
    Brownsville, TX 78520                         Columbia, MD 21044                               Saddle Brook, NJ 07663


                                                                                                   Derrick Tay, Esquire
    David Bernick, Esquire                        Elizabeth J. Cabraser, Esquire
                                                                                                   Meighen Demers
    Janet S. Baer, Esquire                        Richard M. Heimann, Esquire
                                                                                                   Suite 1100, Box 11, Merrill Lynch Can.Tower
    Kirkland & Ellis                              Lieff Cabraser Heimann & Bernstein LLP
                                                                                                   Sun Life Center, 200 Kint Street West
    200 East Randolph Drive                       275 Battery Street, 30th Floor
                                                                                                   Toronto, Ontario M5H 3T4
    Chicago, IL 60601                             San Francisco, CA 94111
                                                                                                   CANADA

                                                  Scott L. Baena, Esq.                             Edward W. Westbrook, Esquire
    Hand Delivery
                                                  Bilzin Sumberg Dunn Baena Price                  Robert M. Turkewitz, Esquire
    William D. Sullivan, Esquire
                                                    & Axelrod LLP                                  Richardson, Patrick, Westbrook & Brickman,
    Elzufon Austin Reardon Tarlov & Mondell
                                                  First Union Financial Center                     LLC
    300 Delaware Avenue, Suite 1700
                                                  200 South Biscayne Blvd., Suite 2500             174 East Bay Street
    Wilmington, DE 19801
                                                  Miami, FL 33131                                  Charleston, SC 29401

                                                  Peter Van N. Lockwood, Esq.                      Todd Meyer, Esq.
    Elihu Inselbuch, Esq.
                                                  Julie W. Davis, Esq.                             Kilpatrick Stockton
    Rita Tobin, Esq.
                                                  Nathan D. Finch, Esq.                            1100 Peachtree Street
    Caplin & Drysdale, Chartered
                                                  Caplin & Drysdale, Chartered                     Atlanta, GA 30309
    375 Park Avenue, 35th Floor
                                                  One Thomas Circle, N.W.
    New York, NY 10152-3500
                                                  Washington, DC 20005

                                                  Cindy Schultz
    Bernice Conn, Esq.
                                                  Ingersoll-Rand Fluid Products                    Peter A. Chapman
    Robins, Kaplan, Miller & Ciresi LLP
                                                  One Aro Center                                   572 Fernwood Lane
    2049 Century Park East, Suite 3700
                                                  P. O. Box 151                                    Fairless Hills, PA 19030
    Los Angeles, CA 90067
                                                  Bryan, OH 43506


    Michael B. Schaedle, Esq.                                                                      Alan Kolod, Esq.
                                                  Steven R. Schlesinger, Esq.
    Blank Rome LLP                                                                                 Moses & Singer LLP
                                                  Jaspan Schlesinger Hoffman LLP
    One Logan Square                                                                               1301 Avenue of the Americas
                                                  300 Garden City Plaza
    130 North 18th Street                                                                          40th Floor
                                                  Garden City, NY 11530
    Philadelphia, PA 19103                                                                         New York, NY 10019-6076


    Mr. Thomas Moskie                                                                              John P. Dillman, Esq.
                                                  Charles E. Gibson, III
    Bankers Trust Company                                                                          Linebarger Heard Goggan Blair
                                                  Gibson Law Firm
    Four Albany Street, 4th Floor                                                                  Graham Peña & Sampson, LLP
                                                  447 Northpark Drive
    New York, NY 10006                                                                             P. O. Box 3064
                                                  Ridgeland, MS 39157-5109
                                                                                                   Houston, TX 77253-3064




{D0000014:1 }
                               Case 01-01139-AMC       Doc 14057-9             Filed 12/18/06   Page 4 of 7

    Steven J. Kherkher, Esq.
                                                Steven T. Hoort, Esq.                           Kimberly W. Osenbaugh
    Laurence G. Tien, Esq.
                                                Ropes & Gray                                    Preston Gates & Ellis LLP
    Williams Bailey Law Firm LLP
                                                One International Place                         925 Fourth Avenue, Suite 2900
    8441 Gulf Freeway, Suite #600
                                                Boston, MA 02110-2624                           Seattle, WA 98104-7078
    Houston, TX 77017


    Paul M. Baisier, Esq.                       William S. Katchen, Esquire                     Sander L. Esserman, Esquire
                                                                                                Stutzman, Bromberg, Esserman & Plifka
    SEYFARTH SHAW                               Duane, Morris & Heckscher LLP
                                                                                                2323 Bryan Street
    1545 Peachtree Street, Suite 700            1 Riverfront Plaza, 2nd Floor                   Suite 2200
    Atlanta, GA 30309                           Newark, NJ 07102                                Dallas, TX 75201-2689


                                                                                                Barry D. Kleban, Esquire
                                                Paul D. Henderson, Esquire                      Adelman Lavine Gold and Levin
    Delta Chemical Corporation
                                                Dies, Dies & Henderson
    2601 Cannery Avenue
                                                1009 W. Green Avenue
                                                                                                Suite 900
    Baltimore, MD 21226-1595                                                                    Four Penn Cneter
                                                Orange, TX 77630
                                                                                                Philadelphia, PA 19103

    Todd C. Meyers, Esq.                                                                        Brad N. Friedman, Esq.
                                                Peter S. Goodman, Esquire
    Kilpatrick Stockton, LLP                                                                    Rachel S. Fleishman, Esq.
                                                Andrews & Kurth LLP
    1100 Peachtree Street, Suite 2800                                                           Milberg Weiss Bershad Hynes & Learch
                                                450 Lexington Avenue, 15th Floor
    Atlanta, GA 30309-4530                                                                      One Pennsylvania Plaza
                                                New York, New York 10017
                                                                                                New York, NY 10019


    Lewis Kruger, Esquire                       C. Randall Bupp, Esquire                        Thomas J. Noonan, Jr.
    Robert Raskin, Esq.                         Plastiras & Terrizzi                            Herman’s Sporting Goods in Liquidation
    Stroock & Stroock & Lavan LLP               24 Professional Center Parkway                  C/o R&S Liquidation Company, Inc.
    180 Maiden Lane                             Suite 150                                       5 Lyons Mall PMB #530
    New York, NY 10038-4982                     San Rafael, CA 94903                            Basking Ridge, NJ 07920-1928

                                                                                                Rosa Dominy
    William E. Frese, Esquire
                                                Damon J. Chargois, Esquire                      Bankruptcy Administration
    Attn: Sheree L. Kelly, Esquire
                                                Emerg’ Soft                                     IOS Capital, Inc.
    80 Park Plaza, T5D
                                                524 E. Lamar Blvd. – Ste 200                    1738 Bass Road
    P.O. Box 570
                                                Arlington, TX 76011                             P.O. Box 13708
    Newark, NJ 07101
                                                                                                Macon, GA 31208-3708

    State Library of Ohio
    c/o Michelle T. Sutter                      Dorine Vork                                     Jonathan H. Alden, Esquire
                                                Stibbe, P.C.                                    Assistant General Counsel
    Revenue Recovery                            350 Park Avenue                                 3900 Commonwealth Boulevard, MS 35
    101 E. Town Street, Second Floor            New York, New York 10022                        Tallahassee, Florida 32399-3000
    Columbus, OH 43215


                                                Randall A. Rios, Esq.
    Credit Lyonnais                                                                             Anton Volovsek
                                                Floyd Isgur Rios & Wahrlich, P.D.
    1301 Avenue of the Americas                                                                 Rt2 – Box 200 #42
                                                700 Louisiana, Suite 4600
    New York, New York 10019-0602                                                               Kamiah, Idah 83536-9229
                                                Houston, TX 77002


                                                General Counsel
    Paul G. Sumers, Esquire                                                                     Harry Lee, Esquire
                                                Enron Energy Services
    TN Attorney General’s Office, Bankr. Unit                                                   Steptoe & Johnson LLP
                                                1400 Smith Street
    P.O. Box 20207                                                                              1330 Connecticut Avenue, N.W.
                                                EB 0889
    Nashville, TN 37202-0207                                                                    Washington, DC 20036
                                                Houston, TX 77002




{D0000014:1 }
                               Case 01-01139-AMC    Doc 14057-9          Filed 12/18/06   Page 5 of 7

    Thomas O. Bean, Esq.                     Allan M. McGarvey, Esquire
    Eric P. Magnuson, Esq.                   Jon L. Heberling, Esquire                    Neil Berger, Esquire
    Nutter, McClennen & Fish, LLP            Roger M. Sullivan, Esquire                   Togut Segal & Segal LLP
    World Trade Center West                  McGarvey Heberling Sullivan & McGarvey       One Penn Plaza, Suite 3335
    155 Seaport Blvd.                        745 South Main                               New York, NY 10119
    Boston, MA 02210                         Kalispell, MT 59901

                                             John G. Stoia, Jr., Esuiqre
    Deirdre Woulfe Pacheo, Esq.                                                           Philip Bentley, Esq.
                                             Timothy G. Blood, Esquire
    Wilentz Goldman & Spitzer                                                             Gary M. Becker, Esq.
                                             Lerach Coughlin Stoia Geller Rudman &
    P.O. Box 10                                                                           Kramer Levin Naftalis & Frankel LLP
                                             Robbins LLP
    Woodbridge Center Drive                                                               1177 Avenue of the Americas
                                             401 B. Street, Suite 1600
    Woodbridge, NJ 07095                                                                  New York, NY 10036
                                             San Diego, CA 92101

                                             Ralph R. Mabey, Esquire                      James Sottile, Esquire
    Jacob C. Cohn, Esq.                      Penrod W. Keith, Esquire                     Zuckerman Spaeder LLP
    Cozen O’Connor                           LeBoeuf Lamb Greene & MacRae LLP             1201 Connecticut Ave., NW
    1900 Market Street                       1000 Kearns Building                         Suite 600
    Philadelphia, PA 19103                   Salt Lake City, UT 84101                     Washington, DC 20036


    Richard S. Lewis, Esquire
                                                                                          Darrell W. Scott
    Cohen Milstein Hausfeld & Toll, PLLC     Marsha A. Penn, Esquire
                                                                                          The Scott Law Group, P.S.
    1100 New York Avenue, N.W.               P.O. Box 3725
                                                                                          926 W. Sprague Avenue, Suite 583
    West Tower, Suite 500                    Houston, TX 77253
                                                                                          Spokane, WA 99201
    Washington, DC 20005

                                                                                          David Pastor, Esquire
    Thomas M., Esquire                       Robert J. Dehney, Esquire
                                                                                          Edward L. Manchur, Esquire
    Hagens Berman Sobol Shapiro LLP          Michael G. Busenkell, Esquire
                                                                                          Gilman & Pastor LLP
    One Main Street                          Morris Nicholas Arsht & Tunnell
                                                                                          Stonehill Corporate Center
    4th Floor                                1201 N. Market Street
                                                                                          999 Broadway, Suite 500
    Cambridge, MA 02142                      Wilmington, DE 19899
                                                                                          Saugus, MA 01906

    Thomas G. Macauley, Esq.                 Mark Minuti, Esq.
                                                                                          Thomas G. Whalen, Esquire
    Zuckerman Spaeder LLP                    Saul Ewing LLP
                                                                                          Stevens & Lee
    919 Market Street, Suite 990             222 Delaware Avenue
                                                                                          1105 North Market Street, 7th Floor
    PO Box 1028                              P.O. Box 1266
                                                                                          Wilmington, DE 19801
    Wilmington, DE 19899                     Wilmington, DE 19899


                                              Peninsula Capital, L.P.
    Mr. Mark Hankin                                                                       Jordan N. Malz, Esq.
                                              404B East Main Street, 2nd Floor
    HanMar Associates, M.L.P.                                                             Simpson Thacher & Bartlett
                                              Charlottesville, VA 22902
    P.O. Box 26767                                                                        425 Lexington Avenue
                                              Attn: Ted Weschler
    Elkins Park, PA 19027                                                                 New York, NY 10017


    Paul P. Daley, Esq.                                                                   Christopher R. Momjian, Esq.
                                              Vahe Melkonian, Pres.
    George W. Shuster, Jr., Esq.                                                          Senior Deputy Attorney General
                                              Newco Management Company LLC
    Hale and Dorr LLP                                                                     Office of the Attorney General
                                              6320 Canoga Avenue, Suite 1430
    60 State Street                                                                       21 S. 12th Street, 3rd Floor
                                              Woodland Hills, CA 91367
    Boston, MA 02109                                                                      Philadelphia, PA 19107

                                             Joseph L. Schwartz, Esq.
    Janet M. Weiss, Esq.                     Curtis M. Plaza, Esq.                        Mr. Harvey Schultz
    Gibson Dunn & Crutcher LLP               Craig T. Moran, Esq.                         The Schultz Organization
    200 Park Avenue                          Riker Danzig Scherer Hyland & Perretti LLP   900 Route 9 North
    New York, NY 10166                       Headquarters Plaza, 1 Speedwell Avenue       Woodbridge, NJ 07095
                                             Morristown, NJ 07962




{D0000014:1 }
                                  Case 01-01139-AMC       Doc 14057-9          Filed 12/18/06    Page 6 of 7

    Charles L. Finke, Assistant Attorney General
                                                                                                 W. Wallace Finlator, Jr.
    Brad Rogers, Attorney                          Richard A. O’Halloran, Esquire
                                                                                                 Assistant Attorney General
    Pension Benefit Guarantee Corporation          BURNS, WHITE & HICKTON, LLC
                                                                                                 N.C. Department of Justice
    Office of the General Counsel                  531 Plymouth Road, Suite 500
                                                                                                 Post Office Box 629
    1200 K Street, NW                              Plymouth Meeting, PA 19462
                                                                                                 Raleigh, NC 27602-0629
    Washington, DC 20005-4026

                                                                                                 William P. Bowden, Esq.
    Daniel C. Cohn, Esq.                           Steven K. Kortanek, Esq.
                                                                                                 Amanda M. Winfree, Esq.
    Christopher M. Candon                          Joanne B. Wills, Esq.
                                                                                                 Ashby & Geddes, P.A.
    Cohn & Whitesell LLP                           Klehr, Harrison, Harvey, Branzburg & Ellers
                                                                                                 222 Delaware Avenue, 17th Floor
    101 Arch Street, Suite 1605                    919 Market Street, Suite 1000
                                                                                                 P.O. Box 1150
    Boston, MA 02110                               Wilmington, DE 19801
                                                                                                 Wilmington, DE 19899

                                                                                                 Thomas Tew, Esquire
                                                   John V. Fiorella, Esquire
    Jeffrey L. Roelofs, Esquire                                                                  Tew Cardenas Robak Kellogg Lehman
                                                   Archer & Greiner, P.C.
    Anderson & Kreiger, LLP                                                                      DeMaria
                                                   1300 North Market Street
    43 Thorndike Street                                                                            Tague Raymond & Levine L.L.P.
                                                   Suite 700
    Cambridge, MA 02141                                                                          201 S. Biscayne Blvd., Suite 2600
                                                   Wilmington, DE 19801
                                                                                                 Miami, FL 33131

    James E. Wimberley, Esquire
                                                   Marc Abrams, Esquire                          Citadel Investment Group, L.L.C.
    McPherson, Monk, Hughes, Bradley &
                                                   Willkie, Farr & Gallagher                     Attn: S. Jay Novatney
    Wimberley, L.L.P.
                                                   787 Seventh Avenue                            131 South Dearborn Street, 36th Floor
    3120 Central Mall Drive
                                                   New York, NY 10019-6099                       Chicago, IL 60603
    Port Arthur, TX 77642


    Kirk A. Patrick III                            Anne McGinness Kearse, Esq.
                                                                                                 Roger W. Hammond
    Donohue Patrick                                Motley Rice LLC
                                                                                                 Kforce Inc.
    1500 Bank One Centre-North Tower               28 Bridgeside Blvd.
                                                                                                 1001 East Palm Avenue
    PO Box 1629                                    PO Box 1792
                                                                                                 Tampa, FL 33605
    Baton Rouge, LA 70821-1629                     Mt. Pleasant, SC 29465


                                                   Todd C. Schiltz                               Bruce D. Levin, Esq.
    Mr. Eugene Paul Sullivan                       Wolf, Block, Schorr and Solis-Cohen LLP       Peter B. McGlynn, Esq.
    29-B Plaza Delas Flores                        Wilmington Trust Center                       Bernkopf Goodman LLP
    Freehold, NJ 07728                             1100 N. Market Street, Suite 1001             125 Summer Street, Suite 1300
                                                   Wilmington, DE 19801                          Boston, MA 02110

    Frederick P. Furth                                                                           Roger Frankel, Esq.
    Michael P. Lehmann                             John C. Phillips, Jr., Esq.                   Richard H. Wyron, Esq.
    Christopher L. Lebsock                         Phillips, Goldman & Spence, P.A.              Orrick, Herrington & Sutcliffe LLP
    The Furth Firm LLP                             1200 N. Broom Street                          The Washington Harbour
    225 Bush Street, 15th Floor                    Wilmington, DE 19806                          3050 K Street, NW, Ste 200
    San Francisco, CA 94104                                                                      Washington, DC 20007

    Robert J. Sidman, Esq.
                                                   Justin Shrader
    Tiffany Strelow Cobb, Esq.                                                                   Sean Allen
                                                   Shrader & Williamson
    Vorys, Sater, Seymour and Pease LLP                                                          BMC Group
                                                   16903 Red Oak Blvd.
    52 East Gay Street                                                                           720 Third Avenue, 23rd Floor
                                                   Suite 220
    P.O. Box 1008                                                                                Seattle, WA 98104
                                                   Houston, TX 77090
    Columbus, OH 43215

    M. David Minnick, Esq.                                                                       Thomas A. Spratt, Jr., Esquire
                                                   Gerald F. George, Esq.
    Michael P. Ellis, Esq.                                                                       Pepper Hamilton, LLP
                                                   Pillsbury Winthrop Shaw Pittman LLP
    Pillsbury Winthrop Shaw Pittman LLP                                                          3000 Two Logan Square
                                                   50 Fremont Street
    50 Fremont Street                                                                            Eighteenth & Arch Streets
                                                   San Francisco, CA 94105-2228
    San Francisco, CA 94105-2228                                                                 Philadelphia, PA 19103




{D0000014:1 }
                              Case 01-01139-AMC     Doc 14057-9           Filed 12/18/06   Page 7 of 7

                                             D. Alexander Barnes, Esq.                     Steven J. McCardell, Esquire
    Steven T.Davis
                                             Obermayer Rebmann Maxwell & Hippel LLP        Jared Inouye, Esquire
    Obermayer Rebmann Maxwell & Hippel LLP
                                             One Penn Center, 19th Floor                   Duham Jones & Pinegar
    3 Mill Road, Suite 306A
                                             1617 John F. Kennedy Blvd.                    111 E. Broadway, Suite 900
    Wilmington, DE 19806
                                             Philadelphia, Pa 19103-1895                   Salt Lake City, UT 84111


    John Waters, Esq.                        Yves Lauzon                                   Daniel K. Hogan
    Iowa Department of Revenue               Michel Belanger                               The Hogan Firm
    Collections Section                      Lauzon Belanger, Inc.                         1311 Delaware Avenue
    P.O. Box 10457                           286, rue St-Paul Quest, Bureau 100            Wilmington, DE 19806
    Des Moines, Iowa 50306                   Montreal Quebec

                                                                                           Neil B. Glassman, Esquire
    David A. Hickerson, Esquire
                                             Ralph I. Miller, Esquire                      Steven M. Yoder, Esquire
    M. Jarrad Wright, Esquire
                                             Weil, Gotshal & Manges, LLP                   Kathryn D. Sallie, Esquire
    Weil, Gotshal & Manges, LLP
                                             200 Cresent Court, Suite 300                  The Bayard Firm
    1300 Eye Street N.W., Suite 900
                                             Dallas, TX 75201                              222 Delaware Avenue, Ste 900
    Washington, D.C. 20005
                                                                                           Wilmington, DE 19801




{D0000014:1 }
